
PER CURIAM.
In the light of able arguments made by counsel for the respective parties litigant,, and after careful study of the record herein, we have concluded that Order No. 5291 entered by the Florida Railroad and Public Utilities Commission is sustained by competent, substantial evidence which, not only accords with logic and reason as well as-human experience, but is also a legally sufficient predicate for the Commission’s' findings and conclusions.
We have, moreover, given due consideration to the statutory presumption of the correctness of the Commission’s orders as said presumption is set forth in Section 350.12, Subsection (2) (m), Florida Statutes' 1961, F.S.A.
*830It is ordered that the petition for certio-rari filed herein be and it is hereby denied.
TERRELL, Acting C. J., THOMAS, CALDWELL and HOBSON (Ret.), JJ., and SMITH, Circuit Judge, concur.
